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                                 TRUSTEE'S PROPOSED DISTRIBUTION
                                                                                                      Exhibit D


   Case No. 18-64049
   Case Name: ANGELIA T. COGLEY
   Trustee Name: S. Gregory Hays

                                                  Balance on hand:       $                           80,235.35

          Claims of secured creditors will be paid as follows:

  Claim    Claimant                                       Claim        Allowed             Interim      Proposed
  No.                                                   Asserted       Amount           Payments         Payment
                                                                       of Claim           to Date

                                                      None

                                               Total to be paid to secured creditors:       $                 0.00
                                               Remaining balance:                           $            80,235.35

          Applications for chapter 7 fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                       Total             Interim      Proposed
                                                                     Requested          Payments         Payment
                                                                                          to Date

  Trustee, Fees - S. Gregory Hays                                      8,093.79              0.00        8,093.79
  Accountant for Trustee, Fees - Hays Financial Consulting,            2,160.00              0.00        2,160.00
  LLC
  Accountant for Trustee, Expenses - Hays Financial                       94.40              0.00           94.40
  Consulting, LLC
  Charges, U.S. Bankruptcy Court                                         350.00              0.00         350.00
  Trustee, Expenses - S. Gregory Hays                                    792.72              0.00         792.72
  Attorney for Trustee Fees (Other Firm) - Arnall Golden              34,889.50              0.00       34,889.50
  Gregory LLP
  Attorney for Trustee Expenses (Other Firm) - Arnall Golden           1,229.15              0.00        1,229.15
  Gregory LLP
                     Total to be paid for chapter 7 administrative expenses:                 $           47,609.56
                     Remaining balance:                                                      $           32,625.79

          Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                 Total          Interim            Proposed
                                                                   Requested      Payments           Payment

                                                      None



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                      Total to be paid for prior chapter administrative expenses:             $             0.00
                      Remaining balance:                                                      $        32,625.79

              In addition to the expenses of administration listed above as may be allowed by the Court,
      priority claims totaling $12,117.32 must be paid in advance of any dividend to general (unsecured)
      creditors.
              Allowed priority claims are:
  Claim       Claimant                            Allowed Amount         Interim Payments             Proposed
  No.                                                    of Claim                  to Date             Payment
  1P          Department of the Treasury                       0.00                    0.00                  0.00
              Internal Revenue Service
  1P-2        Department of the Treasury                 12,117.32                     0.00          12,117.32

                                                    Total to be paid for priority claims:     $        12,117.32
                                                    Remaining balance:                        $        20,508.47

             The actual distribution to wage claimants included above, if any, will be the proposed payment
      less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).
             Timely claims of general (unsecured) creditors totaling $186,234.66 have been allowed and will
      be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
      timely allowed general (unsecured) dividend is anticipated to be 11.0 percent, plus interest (if
      applicable).
            Timely allowed general (unsecured) claims are as follows:
  Claim       Claimant                            Allowed Amount         Interim Payments             Proposed
  No.                                                    of Claim                  to Date             Payment
  1U          Department of the Treasury                       0.00                    0.00                  0.00
              Internal Revenue Service
  1U-2        Department of the Treasury                  4,395.95                     0.00                484.09
  2           Quantum3 Group LLC as                         523.20                     0.00                 57.62
              agent for GPCC I LLC
  3           Capital One Bank (USA), N.A.                  456.04                     0.00                 50.22
  4           The Bank of Missouri d/b/a                    441.73                     0.00                 48.64
              Fortiva
  5           State Farm Federal Credit                  14,015.82                     0.00            1,543.45
              Union
  6           State Farm Federal Credit                   7,870.43                     0.00                866.70
              Union
  7           Capital One, N.A.                             451.12                     0.00                 49.68
  8           Verizon by American                           187.88                     0.00                 20.69
              InfoSource as agent
  9           U.S. Department of Education             157,420.30                      0.00          17,335.38
  10          Quantum3 Group LLC                            472.19                     0.00                 52.00
                         Total to be paid for timely general unsecured claims:                $       20,508.47
                         Remaining balance:                                                   $            0.00

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           Tardily filed claims of general (unsecured) creditors totaling $13,724.78 have been allowed and
   will be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured)
   claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus
   interest (if applicable).
           Tardily filed general (unsecured) claims are as follows:
  Claim    Claimant                               Allowed Amount        Interim Payments               Proposed
  No.                                                    of Claim                 to Date               Payment
  11       Quantum3 Group LLC                            13,724.78                     0.00                 0.00

                        Total to be paid for tardily filed general unsecured claims:          $                 0.00
                        Remaining balance:                                                    $                 0.00

         Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
   subordinated by the Court totaling $4,687.52 have been allowed and will be paid pro rata only after all
   allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
   subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).
         Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
   subordinated by the Court are as follows:

  Claim    Claimant                               Allowed Amount        Interim Payments               Proposed
  No.                                                    of Claim                 to Date               Payment
  1Ua      Department of the Treasury                         0.00                     0.00                 0.00
           Internal Revenue Service
  1Ua-2    Department of the Treasury                     4,687.52                     0.00                 0.00
           Internal Revenue Service
                                                Total to be paid for subordinated claims: $                     0.00
                                                Remaining balance:                        $                     0.00

   Date: Sep 15, 2021                  Signed: /s/ S. Gregory Hays
                                               S. Gregory Hays, Trustee
                                               2964 Peachtree Road, NW, Ste. 555
                                               Atlanta, GA 30305
                                               4049260060




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